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                                                      U.S. Department of Justice

                                                      William D. Weinreb
                                                      Acting United States Attorney
                                                      District ofMassachusetts


Main Reception: (617) 748-3100                        John Joseph Moakley United States
Courthouse
                                                      1 Courthouse Way
                                                      Suite 9200
                                                      Boston, Massachusetts 02210

                                                      October 6,2017

W. Jamiel Allen
                                                       IT -
Federal Defender Office
51 Sleeper Street, 5^^ Floor
Boston, MA 02210

       Re:     United States v. James Ramirez a/k/a Santiago Ramirez
               Criminal No.


Dear Mr. Allen:


         The United States Attorney for the District of Massachusetts ("the U.S. Attorney") and your
client, James Ramirez ("Defendant"), agree as follows witli respect to the above-referenced case:

        1.     Change of Plea

        At the earliest practicable date, but in no event later than October 30,2017, Defendant shall
waive indictment and plead guilty to the Information attached to this Plea Agreement charging
him with: conspiracy to distribute and possess with the intent to distribute 400 grams or more of
fentanyl and 500 grams or more of cocaine, in violation of Title 21, United States Code, Section
846, and possession of a firearm by a felon, in violation of Title 18, United States Code, Section
922(g)(1). Defendant expressly and unequivocally admits that he committed the crimes charged
in Counts One and Two of the Information, did so knowingly, and is in fact guilty of those offenses.

       2.      Penalties


        Defendant faces the following mandatory minimum and maximum penalties on Count One
of the Information after the filing of a Title 21, United States Code, Section 851 Information:
incarceration for not less than 20 years and not more than life; supervised release for at least 10
years; a fine of up to $20,000,000; and, forfeiture to the extent charged in the Information.
Defendant faces the following maximum penalties on Count Two of the Information: incarceration
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